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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION



 EN DONG,

       Plaintiff,
                                              CIVIL ACTION FILE
 V.

                                              NO. 1:21-CV-4689-MHC
 SUPER HIBACHI DULUTH, INC.,,
 YUN BAG HUANG and
 YONGZHAO VAN,

       Defendants.



                             SCHEDULING ORDER

      Upon review of the information contained in the Joint Preliminary Report

and Discovery Plan form completed and filed by the parties, the Court orders that

the time limits for adding parties, amending the pleadings, filing motions,

completing discovery, and discussing settlement are as set out in the Federal Rules


of Civil Procedure and the Local Rules of this Court, except as herein modified:


      The discovery period shall be for FOUR (4) MONTHS, beginning January

7, 2022, and ending on May 27, 2022.
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      Further, in accordance with the mandates of the Eleventh Circuit, the Court


believes strongly in the common-law right of access to judicial proceeding as an

"essential component of our system ofjustice[,]" which can be overcome only by a


showing of good cause. See Romero v. Dmmmond Co., Inc., 480 F.3d 1234, 1245


(11th Cir. 2007). As the case develops and the need arises for parties to file

documents protected by the protective order on the docket, the Parties are


instructed to carefully review the Northern District of Georgia Local Rules


Appendix H, Standing Order No. 16-01, Ex. A (II)(J) and adhere closely to its

requirements. The Court wishes to emphasize two mandates of this Standing


Order which are often overlooked by litigants. First, requests to seal should be as


narrowly drawn as possible, with the movant redacting and requesting sealing for


"only those portions of the filing for which there is legal authority to seal." Id.

Second, it is often the case that the party seeking to use a protected document and


filing the motion to seal did not originally produce the document and mark it

confidential under the protective order. Under the Standing Order, it is the burden


of the party that first marked the document confidential to establish good cause

before the Court to seal the document. Thus, it is not sufficient for the non-movant


to consent to the motion to seal. Rather, the non-movant must file a brief in


support "(i) identify [ing], with specificity, the documents or portions thereof for


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which sealing is requested by the non-movant and (ii) briefly explam[ing] the

nature of the requester designation made by the non-movant." Id. If the non-

movant who marked the information confidential fails to file such a brief, they


have not established good cause for sealing, and the motion to seal will be denied.

      IT IS SO ORDERED this 23rd day of February, 2022.




                                       MARK H. COHEN
                                       United States District Judge
